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                                                                   DISTRICT OF NEW JERSEY
                                                                                                                                               Case No. 19-10880
In re William J. Focazio                                                                                   Reporting Period December 1, 2020 - December 31, 2020




                                                              MONTHLY OPERATING REPORT
                                                              (INDIVIDUAL WAGE EARNERS)

File with Court and submit copy to United States Trustee within 20 days after end of month

Submit copy of report to any official committee appointed in the case.

                                                                                                                                                       Explanation
                        Required Documents                                                 Form No.                    Document Attached                Attached
Schedule of Cash Receipts and Disbursements                                         MOR-1 (INDV)                              X
   Bank Reconciliation (or copies of debtor's bank reconciliations)                 MOR-1a                                    X
   Copies of bank statements                                                                                                  X
   Cash disbursements journals                                                      MOR -Disbursements                        X
Statement of Operations                                                             MOR-1 (INDV)                              X
Balance Sheet                                                                       MOR - 3                                   X
Status of Postpetition Taxes                                                                                                 N/A
  Copies of IRS Form 6123 or payment receipt                                                                                 N/A
  Copies of tax returns filed during reporting period                                                                        N/A
Summary of Unpaid Postpetition Debts                                                                                         N/A
  Listing of aged accounts payable                                                                                           N/A
Accounts Receivable Reconciliation and Aging                                                                                 N/A
Debtor Questionnaire                                                                MOR - 5                                   X




I declare under penalty of perjury (28 U.S.C. Section 1746) that the documents attached to this
report are true and correct to the best of my knowledge and belief.

_______________________________________
Signature of Debtor                                                                             Date

_______________________________________                                               March 3, 2021
Signature of Chapter 11 Trustee                                                                 Date

*The Trustee was appointed by Court Order on May 17, 2019. The information contained herein is based on the Trustee's accountant's analysis of
the Debtor's bank statements and financing information made available to the Trustee. The Trustee takes no responsibility for the accuracy of the
Debtor's information and reserves all rights in connection therewith.




                                                                                                                                                        FORM MOR (INDV)
                                                                                                                                                    (9/99)
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In re William J. Focazio                                                                                                                                                              Reporting Period December 1, 2020 - December 31, 2020




                                                                INDIVIDUAL DEBTOR CASH RECEIPTS AND CASH DISBURSEMENTS
                                                                          ( This Form must be submitted for each Bank Account maintained by the Debtor)

                           Amounts reported should be per the debtor's books, not the bank statement. The beginning cash should be the ending cash from the prior month or, if this
                           is the first report, the amount should be the balance on the date the petition was filed. Attach the bank statements and a detailed list of all disbursements
                           made during the report period that includes the date, the check number, the payee, the transaction description, and the amount. A bank reconciliation
                           must be attached for each account. [See MOR-1 (INDV) (CON'T)


                                                                                                                                                                       Cumulative Filing to Date
                                                                                                                                              Trustee's Account
                                                                                                                                                    8981
                           Cash - Beginning of Month (December 1, 2020)                                                                                  13,802                                 9,304
                           RECEIPTS
                            Wages / Distributions                                                                                                             -                              205,000
                            Account Transfer                                                                                                                  -                                5,000
                            Alimony and Child Support                                                                                                         -                                  -
                            Miscellaneous Deposits                                                                                                            -                               78,986
                            Other Income (attach schedule)                                                                                                  8,150                            103,674
                            Miscellaneous Income1                                                                                                             -                                5,080
                                Total Receipts                                                                                                              8,150                            397,740
                           DISBURSEMENTS
                            ORDINARY ITEMS:
                            Mortgage Payment(s)                                                                                                                -                              10,000
                            Rental Payment(s)                                                                                                                  -                               4,030
                            Other Loan Payments                                                                                                                -                               2,500
                            Utilities                                                                                                                          -                              18,246
                            Insurance                                                                                                                          -                              24,212
                            Auto                                                                                                                               -                               2,736
                            Investment Contributions                                                                                                           -                              28,750
                            Business Expenses                                                                                                                  -                               9,058
                            Repairs and Maintenance                                                                                                            -                              23,297
                            Medical Expenses                                                                                                                   -                               6,606
                            Household Expenses                                                                                                                 -                              86,813
                            Account Transfer                                                                                                                   -                               5,000
                            Bank Fees                                                                                                                            24                            1,158
                            Child Care Expenses                                                                                                                -                               1,200
                            Alimony and Child Support Payments                                                                                                 -                                 -
                            Legal Fees                                                                                                                         -                               9,142
                            Taxes - Real Estate                                                                                                                -                                 -
                            Taxes - Personal Property                                                                                                          -                                 -
                            Storage Unit                                                                                                                       -                                 639
                            Travel and Entertainment                                                                                                           -                               1,659
                            Housekeeping                                                                                                                       -                              31,070
                            Miscellaneous Expense                                                                                                              -                              52,991
                            Other (attach schedule)                                                                                                            -                                 200
                            Miscellaneous Disbursements1                                                                                                      -                                7,724
                            Trustee Disbursements2                                                                                                          7,476                             49,326
                                 Total Ordinary Disbursements                                                                                               7,500                            376,357
                               REORGANIZATION ITEMS:
                                Professional Fees                                                                                                              -                               6,717
                                U. S. Trustee Fees                                                                                                             -                               4,940
                                Other Reorganization Expenses (attach schedule)                                                                                -                               4,578
                                 Total Reorganization Items                                                                                                    -                              16,235

                           Total Disbursements (Ordinary + Reorganization)                                                                                  7,500                            392,592

                           Net Cash Flow (Total Receipts - Total Disbursements)                                                                                650                              5,148

                           Cash - End of Month (December 31, 2020) (Must equal reconciled bank statement)                                                  14,452                             14,452


                                                                                 THE FOLLOWING SECTION MUST BE COMPLETED
                           DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)
                           TOTAL DISBURSEMENTS                                                                                                                                                  7,500
                             LESS: TRANSFERS TO DEBTOR IN POSSESSION ACCOUNTS                                                                                                                     -
                             PLUS: ESTATE DISBURSEMENTS MADE BY OUTSIDE SOURCES (i.e. from escrow accounts)                                                                                       -
                           TOTAL DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES                                                                                                      7,500

                           1
                            Miscellaneous income and disbursements are sources and expenditures that were not under the control of the
                           Trustee's and did not run through the Trustee's account.

                           2
                            The Trustee created a system where all funds will flow through the Trustee's bank account (account #8981), and
                           a budgeted amount will be transferred to the Debtor's bank account (account #6942) for daily living expenses.
                           Trustee Disbursements are funds that were received by the Trustee and transferred to the Debtor's account for
                           these living expenses.
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                           INDIVIDUAL DEBTOR CASH RECEIPTS AND CASH DISBURSEMENTS - continuation sheet


                                                              Current Month                Cumulative Filing to Date
             BREAKDOWN OF "OTHER" CATEGORY                       Actual                            Actual


             Other Income




             Other Taxes




             Other Ordinary Disbursements




             Other Reorganization Expenses
             U.S. Marshall Services                                           (12,422)                             3,578
             Abraxas Abstract, Inc.                                             1,000                              1,000


               Total                                                          (11,422)                             4,578



                                                                                                              FORM MOR-1
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                                                     Disbursements - Account #8981

Payee                      Account     Date                  Amount                    Purpose             Check #              Comment
Disbursements
 Republic bank             #8981              12/16/2020               12   Bank Fees
 William Focazio           #8981              12/17/2020            2,500   Trustee Disbursement
 William Focazio           #8981              12/18/2020            2,500   Trustee Disbursement
 Republic bank             #8981              12/21/2020               12   Bank Fees
 William Focazio           #8981              12/22/2020            2,476   Trustee Disbursement




      Total                                                       $7,500
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                                                                  BANK RECONCILIATIONS
                                                                  Continuation Sheet for MOR-1
                      A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted for this page.


                                                                                                                Account #8981
             BALANCE PER BOOKS                                                                                                                           14,452

             BANK BALANCE                                                                                                                                14,452
             (+) DEPOSITS IN TRANSIT (ATTACH LIST)                                                                                                          -
             (-) OUTSTANDING CHECKS (ATTACH LIST)                                                                                                           -
             OTHER (ATTACH EXPLANATION)                                                                                                                     -
             ADJUSTED BANK BALANCE *                                                                                                                     14,452
             * Adjusted bank balance must equal
                balance per books

             DEPOSITS IN TRANSIT                                                                   Date                                 Amount




             CHECKS OUTSTANDING                                                                   Ck. #                                 Amount




             OTHER
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                                                       Date 1/05/21           Page     1
                                                       Account Number   @XXXXXXXXXX@8981
                                                       Enclosures



       WILLIAM FOCAZIO
       NJ 19-10880-VFP CHAPTER 11
       EDWARD A PHILLIPS CHAPTER 11 TRUSTEE
       1515 MARKET STREET SUITE 1200
       PHILADELPHIA PA 19102




___________________________ CHECKING ACCOUNT __________________________________
  Federal law requires us to tell you how we collect, share, and protect your
  personal information. Our privacy policy has not changed and you may review our
  current policy and practices that pertain to your personal information at
  https://www.myrepublicbank.com/privacy-policy or we will mail you a free copy
  upon request if you call us at 888.875.2265. Thank you for banking with us.
ABSOLUTELY FREE CHECKING                      Number of Enclosures                 0
Account Number           @XXXXXXXXXX@8981     Statement Dates 12/08/20 thru 1/05/21
Previous Balance                13,802.04     Days in the statement period        29
    2 Deposits/Credits           8,150.00     Average Ledger               14,614.66
    5 Checks/Debits              7,500.00     Average Collected            14,614.66
Service Charge                        .00
Interest Paid                         .00
Current Balance                 14,452.04

_______________________________________________________________________________
Activity in Date Order
Date      Description                              Credits          Debits
12/16 WIRE-IN 20203510029400 WILLIAM        5,650.00                         19,452.04
          BK AMER NYC
12/16 WIRE In Fee                                              12.00-        19,440.04
          WILLIAM FOCAZIO
12/17 Bill Paid-WILLIAM FOCAZIO Conf                        2,500.00-        16,940.04
           #29
12/18 Bill Paid-WILLIAM FOCAZIO Conf                        2,500.00-        14,440.04
           #30
12/21 WIRE-IN 20203560039900 WILLIAM        2,500.00                         16,940.04
          BK AMER NYC
12/21 WIRE In Fee                                              12.00-        16,928.04
          WILLIAM FOCAZIO
12/22 Bill Paid-WILLIAM FOCAZIO Conf                        2,476.00-        14,452.04
           #31
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                                                     Date 1/05/21           Page     2
                                                     Account Number   @XXXXXXXXXX@8981
                                                     Enclosures



       WILLIAM FOCAZIO
       NJ 19-10880-VFP CHAPTER 11
       EDWARD A PHILLIPS CHAPTER 11 TRUSTEE
       1515 MARKET STREET SUITE 1200
       PHILADELPHIA PA 19102

ABSOLUTELY FREE CHECKING             @XXXXXXXXXX@8981   (Continued)
_______________________________________________________________________________
Daily Balance Information
Date          Balance        Date            Balance        Date         Balance
12/08            13,802.04   12/17              16,940.04   12/21           16,928.04
12/16            19,440.04   12/18              14,440.04   12/22           14,452.04
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                                                       SCHEDULE OF PROFESSIONAL FEES AND EXPENSES PAID
                                                This schedule is to include all retained professional payments from case inception to current month.


                                        Amount                               Check                                 Amount Paid                            Year-To-Date
      Payee            Period Covered   Approved          Payor        Number      Date                         Fees      Expenses                     Fees        Expenses
David Stevens                                 5,000 William J. Focazio    1328    1/17/2019                       5,000          -                         5,000          -
David Stevens                                 1,717 William J. Focazio    1329     2/8/2019                       1,717          -                         1,717          -
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                                                                                           BALANCE SHEET

   The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from postpetition obligations.


                                                                                                      BOOK VALUE AT END OF                                   BOOK VALUE ON
                                                                                                   CURRENT REPORTING MONTH                                   PETITION DATE
   ASSETS
   Other Property (attach schedule)                                                                                                    1,455,000                                     1,455,000
   Other Investments (attach schedule)                                                                                           Value Unknown                                 Value Unknown

   Cash                                                                                                                                      14,452                                      4,000
   Autos, Trucks & Other Vehicles                                                                                                            43,862                                     43,862
   Household Goods and Furniture                                                                                                            100,000                                    100,000
   Electronics                                                                                                                                5,000                                      5,000
   Clothing                                                                                                                                   3,000                                      3,000
   Jewelry                                                                                                                                    6,000                                      6,000
   Partnerships & Business Ventures                                                                                                          60,000                                     60,000
   Medical License                                                                                                                          100,000                                    100,000
     Total Other Assets                                                                                                                     332,314                                    321,862

   TOTAL ASSETS                                                                                                                          1,787,314                                   1,776,862

                                                                                                 BOOK VALUE AT END OF                                        BOOK VALUE ON
                                                                                                CURRENT REPORTING MONTH                                      PETITION DATE
   LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)
   Accounts Payable                                                                                                                            -                                           -
   Taxes Payable (refer to FORM MOR-4)                                                                                                         -                                           -
   Wages Payable                                                                                                                               -                                           -
   Notes Payable                                                                                                                               -                                           -
   Rent / Leases - Building/Equipment                                                                                                          -                                           -
   Secured Debt / Adequate Protection Payments                                                                                                 -                                           -
   Professional Fees - Counsel*                                                                                                            219,902                                         -
   Professional Fees - Financial Advisors*                                                                                                 119,331                                         -
   Amounts Due to Insiders*                                                                                                                    -                                           -
   Other Postpetition Liabilities (attach schedule)                                                                                            -                                           -
    Total Postpetition Liabilities                                                                                                         339,233                                         -

   LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
   Secured Debt                                                                                                                          1,455,000                                     850,000
   Priority Debt                                                                                                                           421,014                                     246,979
   Unsecured Debt                                                                                                                       14,886,783                                  15,228,600
    Total Pre - Petition Liabilities                                                                                                    16,762,796                                  16,325,579

   Total Liabilities                                                                                                                    17,102,029                                  16,325,579

   *"Insider" is defined in 11 U.S.C. Section 101(31).


   Note: The asset and liability values were originally based on the values listed in the bankruptcy petition filed and are
   updated based on any additional information obtained, i.e. proof of claims, appraisals etc.
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                                                     BALANCE SHEET - continuation sheet


                                                                           BOOK VALUE AT END OF                         BOOK VALUE ON
                                ASSETS                                   CURRENT REPORTING MONTH                        PETITION DATE
Other Property
 66 Westview Road Wayne, NJ 07470                                                                      650,000                               650,000
 41 Inlet Drive Point Pleasant Beach, NJ                                                               260,000                               260,000
 41A Inlet Drive Point Pleasant Beach, NJ                                                              275,000                               275,000
 43 Inlet Drive Point Pleasant Beach, NJ, 08742                                                        270,000                               270,000

Total Other Property                                                                                 1,455,000                             1,455,000

Other Investments
 Shares of DVCO                                                                               Value Unknown                          Value Unknown

Other Assets




                                                                           BOOK VALUE AT END OF                         BOOK VALUE ON
              LIABILITIES AND OWNER EQUITY                               CURRENT REPORTING MONTH                        PETITION DATE
Other Postpetition Liabilities




Adjustments to Owner Equity




Postpetition Contributions (Distributions) (Draws)




Restricted Cash is cash that is restricted for a specific use and not available to fund operations. Typically, restricted cash is segregated into a
separate account, such as an escrow account.
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                                            ACCOUNTS RECEIVABLE RECONCILIATION AND AGING


Accounts Receivable Reconciliation                                                                               Amount
Total Accounts Receivable at the beginning of the reporting period
+ Amounts billed during the period
- Amounts collected during the period                                                                           N/A
Total Accounts Receivable at the end of the reporting period

Accounts Receivable Aging                                                                                        Amount
0 - 30 days old
31 - 60 days old
61 - 90 days old
91+ days old                                                                                                    N/A
Total Accounts Receivable
Amount considered uncollectible (Bad Debt)
Accounts Receivable (Net)

                                                              DEBTOR QUESTIONNAIRE

Must be completed each month                                                                       Yes                       No
1. Have any assets been sold or transferred outside the normal course of business
                                                                                                                              X
   this reporting period? If yes, provide an explanation below.
2. Have any funds been disbursed from any account other than a debtor in possession
                                                                                                                              X
   account this reporting period? If yes, provide an explanation below.
3. Have all postpetition tax returns been timely filed? If no, provide an explanation
                                                                                                                            N/A
   below.
4. Are workers compensation, general liability and other necessary insurance
                                                                                                                            N/A
   coverages in effect? If no, provide an explanation below.
5. Has any bank account been opened during the reporting period? If yes, provide
   documentation identifying the opened account(s). If an investment account has been opened                                  X
   provide the required documentation pursuant to the Delaware Local Rule 4001-3.
